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(Post. 4/4/12)




                                 UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF ARKANSAS

                                                      NOTICE


                 United States of America

                           V.                                         Case No.:   4:19CR00418-0l SWW

                    Bilal Al-Rayanni


TYPE OF CASE:
                                •   CIVIL           []]CRIMINAL

(EJTAKE NOTICE that a proceeding in this case has been set for the place, date, and time set forth below:

PLACE                                                       ROOM NO.
Richard Sheppard Arnold United States Courthouse            A530
600 W Capitol A venue                                       DA TE AND TIME
Little Rock AR 7220 I                                       9/16/2019 at 9:30 a.m.
TYPE OF PROCEEDING

JURY TRIAL before the Honorable Susan Webber Wright, U.S. District Judge.

•    TAKE NOTICE that a proceeding in this case has been continued as indicated below:

PLACE                           DA TE AND TIME PREVIOUSLY   CONTINUED TO DATE
                                SCHEDULED                   AND TIME




                                                            JAMES W. McCORMACK, CLERK
                                                            U.S. MAGISTRATE JUDGE OR CLERK OF COURT


                                                            F. Dunn
                                                            (BY) DEPUTY CLERK
